Case 6:17-cv-02206-CEM-GJK Document 19-4 Filed 02/06/18 Page 1 of 4 PageID 123




                                                                       4
Case 6:17-cv-02206-CEM-GJK Document 19-4 Filed 02/06/18 Page 2 of 4 PageID 124




                 c.      The Agreement obligates Absolute Medical, LLC to exclusively

         distribute Nu Vasive, Inc.' s medical devices for five years, and the Agreement cannot

         be terminated by Absolute Medical, LLC without cause or NuVasive, Inc.' s insolvency.

         The Agreement also requires Absolute Medical, LLC to, without limitation:

                          i. hire a staff of sales representatives ("Representative Affiliates");

                         ii. require its Representative Affiliates to adhere to reasonable non-

                               compete obligations;

                        111.   promptly advise NuVasive, Inc. of any changes m its status,

                               organization, personnel, etc.; and

                        iv. keep Nu Vasive, Inc. aware of any other products that it distributes.

                 d.      In November 2017, Absolute Medical, LLC informed NuVasive, Inc.

         that it intended to withdraw from the Agreement. Absolute Medical, LLC has since

         started selling medical devices manufactured by NuVasive, Inc.'s direct competitor

         Alphatec Spine, Inc.

                 e.      The actions of Absolute Medical, LLC has caused and will continue to

         cause irreparable harm to Nu Vasive, Inc. because its actions violate the Agreement and

         have converted Nu Vasive Inc.' s customers and caused Nu Vasive to be shorthanded in

         the territory Absolute Medical, LLC agreed to cover pursuant to the Agreement.

                 f.      In light of these findings, Nu Vasive, Inc. has established a substantial

          likelihood of success on the merits.

                 g.      Additionally, the injury to NuVasive, Inc. outweighs any harm the

         proposed injunction may cause Absolute Medical, LLC.




                                                      2
Case 6:17-cv-02206-CEM-GJK Document 19-4 Filed 02/06/18 Page 3 of 4 PageID 125




                   h.        Last, the Court finds that it is in the public interest to issue a preliminary

           injunction because it will not only prevent the harm being caused by Absolute Medical,

           LLC's actions, it will also further the public interest in the enforceability of contracts.

           3.      Absolute Medical, LLC and its officers, agents, servants, employees, attorneys,

    and all those persons in active concert or participation with them are hereby ENJOINED AND

    RESTRAINED from violating or breaching the terms and conditions of the Agreement. As

    such, Absolute Medical, LLC is required to:

                   a.        work exclusively for NuVasive, Inc. and not for NuVasive, Inc.'s

           competitors;

                   b.        maintain sufficient Representative Affiliates to service its sales

           territory;

                   c.        require its Representative Affiliates to sign non-compete agreements

           and provide those agreements to NuVasive, Inc.;

                   d.        enforce the non-compete agreements between it and its Representative

           Affiliates; and

                   e.        inform Nu Vasive, Inc. in any change in the product lines it carries.

           4.      NuVasive, Inc. shall post a bond in the amount of                                 , by

    _ _ _ _ _ _, 2018, as payment of such costs and damages to which Absolute Medical,

    LLC may be entitled to the issuance of a wrongful injunction.




                                                        3
Case 6:17-cv-02206-CEM-GJK Document 19-4 Filed 02/06/18 Page 4 of 4 PageID 126




           DONE AND ORDERED in Orlando, Florida, on this_ day of _ _ _ _ _, 2018.




                                                CARLOS E. MENDOZA
                                                UNITED STATES DISTRICT JUDGE

    Copies furnished to:
    Counsel of Record




                                            4
